                Case 2:90-cv-00520-KJM-SCR             Document 2932          Filed 08/08/08       Page 1 of 5


          1 PRISON LAW OFFICE                             BINGHAM, McCUTCHEN, LLP
            DONALD SPECTER Bar No.: 83925                 WARREN E. GEORGE Bar No.: 53588
          2 STEVEN FAMA Bar No.: 99641                    Three Embarcadero Center
            E. IVAN TRUJILLO Bar No.: 228790              San Francisco, California 94111
          3 1917 Fifth Street                             Telephone: (415) 393-2000
            Berkeley, California 94710-1916
          4 Telephone: (510) 280-2621
            Facsimile: (510) 280-2704
          5
            ROSEN, BIEN & GALVAN, LLP                     HELLER, EHRMAN, WHITE & McAULIFFE
          6 MICHAEL W. BIEN Bar No.: 096891               RICHARD L. GOFF Bar No.: 36377
            AMY WHELAN Bar No.: 215675                    701 Fifth Avenue
          7 ERNEST GALVAN Bar No.: 196065                 Seattle, Washington 98104
            315 Montgomery Street, 10th Floor             Telephone: (206) 447-0900
          8 San Francisco, California 94104
            Telephone: (415) 433-6830
          9
            THE LEGAL AID SOCIETY –
         10 EMPLOYMENT LAW CENTER
            CLAUDIA CENTER Bar No.: 158255
         11 LEWIS BOSSING Bar No.: 227402
            600 Harrison Street, Suite 120
         12 San Francisco, CA 94107
            Telephone: (415) 864-8848
         13
            Attorneys for Plaintiffs
         14
                                           UNITED STATES DISTRICT COURT
         15
                                         EASTERN DISTRICT OF CALIFORNIA
         16
         17
              RALPH COLEMAN,                                          Case No. Civ S 90-0520 LKK-JFM
         18
                           Plaintiffs,                                PLAINTIFFS’ NOTICE OF MOTION AND
         19                                                           MOTION TO COMPEL REGARDING
                   v.                                                 CERTAIN DISPUTED ATTORNEYS’ FEES
         20                                                           AND COSTS FROM THE FIRST QUARTER
              ARNOLD SCHWARZENEGGER, et al.,                          OF 2008; MEMORANDUM OF POINTS
         21                                                           AND AUTHORITIES
                           Defendants.
         22                                                           Date: Sept. 18, 2008
                                                                      Time: 11:00 a.m.
         23                                                           Place: Courtroom 26
                                                                      Judge: Honorable John F. Moulds
         24
         25
         26
         27
         28

                  PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO COMPEL DISPUTED ATTORNEYS’ FEES AND COSTS FROM THE FIRST
                            QUARTER OF 2008; MEMORANDUM OF POINTS AND AUTHORITIES, NO.: CIV S 90-0520 LKK-JFM
[230844-2]
                     Case 2:90-cv-00520-KJM-SCR            Document 2932          Filed 08/08/08      Page 2 of 5


             1                                            NOTICE OF MOTION
             2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
             3          PLEASE TAKE NOTICE that on September 18, 2008, at 11:00 a.m. or as soon thereafter as
             4 the matter may be heard in the United States District Court, 501 I Street, Sacramento, California,
             5 before the Honorable John F. Moulds, United States Magistrate Judge, in Courtroom 26, the plaintiff
             6 class will and hereby does move this Court for an order determining Plaintiffs’ entitlement to certain
             7 disputed attorneys’ fees and costs for the first quarter of 2008.
             8          This motion is based on this Notice of Motion and Motion, the accompanying Memorandum
             9 of Points and Authorities filed herewith, the pleadings and papers on file in this matter, and such
         10 other evidence and arguments as may be presented to the Court at or before the time of the hearing.
         11
         12                             MEMORANDUM OF POINTS AND AUTHORITIES
         13             This motion concerns Defendants’ continued withholding of reasonable fees and costs
         14 incurred in monitoring and enforcing the Coleman remedy, based on Defendants’ assertion that
         15 certain activities are not compensable because they relate only to the three-judge panel proceedings
         16 regarding overcrowding.1
         17             Plaintiffs have briefed the issue regarding fees and costs that Defendants deem compensable
         18 only after conclusion of the three-judge panel proceedings on three prior occasions, which are set
         19 forth in the table below. As noted in the table, this Court granted the first motion on September 11,
         20 2007 (affirmed October 5, 2007), and has taken the next two motions under submission.
         21
         22
         23
         24
         25
                 1
             Defendants have also challenged the 2008 rates of paralegals and other legal assistants.
         26
            Plaintiffs do not address this dispute here, but reserve the right to brief it within the yearly
         27 motion to compel process set forth by the Court’s Periodic Fees Order. See Stipulation and
            Order for Periodic Collection of Attorneys’ Fees and Costs, filed 3/19/96, (Ex. A to Decl. of
         28 Amy Whelan (Docket No. 2823, pages 6-10) ¶ 4.
                                                               1
                       PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO COMPEL DISPUTED ATTORNEYS’ FEES AND COSTS FROM THE FIRST
[230844-2]
                                   QUARTER OF 2008; MEMORANDUM OF POINTS AND AUTHORITIES, NO.: CIV S 90-0520 LKK-JFM
                    Case 2:90-cv-00520-KJM-SCR            Document 2932          Filed 08/08/08      Page 3 of 5


             1    Motion                                                           Status
             2    PLAINTIFFS’ MOTION TO COMPEL DISPUTED         GRANTED IN PERTINENT PART
                  ATTORNEYS’ FEES AND COSTS FROM THE THIRD
             3    AND FOURTH QUARTERS OF 2006 (Docket No. 2325) Sept. 11, 2007 (Docket No. 2397);
             4    Filed July 25, 2007                                              Oct. 5, 2007 (Docket No. 2451).
             5
                  PLAINTIFFS’ MOTION TO COMPEL DISPUTED                            Under Submission Since
             6    ATTORNEYS’ FEES AND COSTS FROM THE THIRD
                  QUARTER OF 2007 (Docket No. 2708),                               April 3, 2008
             7
                  Filed March 10, 2008.
             8
                  PLAINTIFFS’ MOTION TO COMPEL DISPUTED                            Under Submission Since
             9    ATTORNEYS’ FEES AND COSTS FROM THE
                  FOURTH QUARTER OF 2007 (Docket No. 2821)                         July 21, 2008
         10
                  Filed June 16, 2008
         11
         12
                        This Court has previously, and unambiguously, ruled that that Plaintiffs need not prove a
         13
                 constitutional violation every time they seek reasonable attorneys’ fees and costs, and that work
         14
                 litigating overcrowding issues before the three-judge panel is compensable as directly and reasonably
         15
                 incurred in enforcing the relief ordered for the constitutional violations found by the Court. See
         16
                 Order, Oct. 5, 2007 (Docket No. 2451), adopting Findings and Recommendations, Sept. 11, 2007
         17
                 (Docket No. 2397), at 5:12 – 6:7.
         18
                        Plaintiffs have now briefed their entitlement to compensation for this work, and rebutted
         19
                 Defendants’ arguments to the contrary, in the six previous filings related to the above-listed motions
         20
                 to compel. Plaintiffs restate and incorporate those documents in full. See Plaintiffs’ Motion To
         21
                 Compel Disputed Attorneys’ Fees And Costs From The Third And Fourth Quarters Of 2006 (Docket
         22
                 No. 2325), filed 7/25/07; Reply ISO Motion To Compel Disputed Attorneys’ Fees And Costs From
         23
                 The Third And Fourth Quarters Of 2006 (Docket No. 2378), filed 8/21/07; Plaintiffs’ Motion to
         24
                 Compel Disputed Attorneys’ Fees and Costs from the Third Quarter of 2007, filed 3/10/08 (Docket
         25
                 No. 2708); Reply ISO Motion to Compel Disputed Attorneys’ Fees and Costs from the Third Quarter
         26
                 of 2007, filed 4/3/08 (Docket No. 2742); Plaintiffs’ Motion to Compel Disputed Attorneys’ Fees and
         27
                 Costs from the Fourth Quarter of 2007, filed 6/16/08 (Docket No. 2821); Reply ISO Motion to
         28
                                                                       2
                      PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO COMPEL DISPUTED ATTORNEYS’ FEES AND COSTS FROM THE FIRST
[230844-2]
                                  QUARTER OF 2008; MEMORANDUM OF POINTS AND AUTHORITIES, NO.: CIV S 90-0520 LKK-JFM
                   Case 2:90-cv-00520-KJM-SCR             Document 2932          Filed 08/08/08      Page 4 of 5


             1 Compel Disputed Attorneys’ Fees and Costs from the Fourth Quarter of 2007, filed 7/17/08 (Docket
             2 No. 2878).
             3         For the reasons stated in these eight documents – the Court’s two previous Orders on the
             4 subject, and Plaintiffs’ six pleadings seeking application of those principles to this single ongoing
             5 dispute – Plaintiffs are entitled to compensation for the reasonable attorneys’ fees and costs that
             6 Defendants have withheld for the first quarter of 2008 on the grounds that the work was related to the
             7 three-judge panel proceedings. As stated in the previous filings, the fact that the work was related to
             8 the three-judge panel proceedings does not mean that it was unrelated to enforcement of the overall
             9 remedy in the Coleman case. To the contrary, this Court has already found that such work is directly
         10 and reasonably incurred to enforce the September 13, 1995 Injunction, and this quarter is no
         11 exception. Findings and Recommendations, Docket No. 2397, 9/11/07, at 5:12 – 6:7.
         12            Defendants’ contention that work related to the three-judge panel proceeding and
         13 enforcement of the underlying remedy is not compensable until Plaintiffs’ “re-establish” prevailing
         14 party status in the three-judge panel part of the case is contrary to controlling authority. Webb v. Ada
         15 County, 285 F.3d 829, 833-35 (9th Cir. 2002). The Plaintiff class has already prevailed in the
         16 Coleman action, and has secured a remedy that includes continued involvement by class counsel to
         17 monitor and enforce the Injunction, including the prevailing party attorneys’ fees and costs that make
         18 such continued involvement possible. Requiring the class to “re-prevail” on each item of effort
         19 expended to enforce the Injunction would effectively make monitoring and enforcement by class
         20 counsel impossible. Defendants’ repeated interposition of this already rejected standard is
         21 undermining the Coleman remedy.
         22            During the first quarter of 2008, covering January through March 2008, Defendants withheld
         23 payment for approximately 1,668 hours of professional services that Defendants deem to be related
         24 only to the three-judge panel trial, despite the fact that such services were necessary to enforce the
         25 underlying Coleman remedy. (See Exhibit A to Stipulation Confirming Undisputed Attorneys’ Fees
         26 and Costs for the 1st Quarter of 2008, Docket No. 2899, Page 5 of 7.) At the rates the Defendants
         27 have agreed to pay pending resolution of certain disputes regarding paralegal rates, this amounts to
         28 approximately $260,000 in fees. (Defendants have also disputed approximately $9,500 in work
                                                            3
                      PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO COMPEL DISPUTED ATTORNEYS’ FEES AND COSTS FROM THE FIRST
[230844-2]
                                  QUARTER OF 2008; MEMORANDUM OF POINTS AND AUTHORITIES, NO.: CIV S 90-0520 LKK-JFM
                   Case 2:90-cv-00520-KJM-SCR             Document 2932          Filed 08/08/08      Page 5 of 5


             1 performed from January to March 2008 on this fee dispute.)
             2         In addition, Defendants have withheld payment of approximately $107,000 in costs that
             3 Plaintiffs’ counsel was required to advance on behalf of the class between January and March of
             4 2008. Id., at Page 7 of 7. As in the previous quarters, these withheld costs include very broad
             5 categories of expenses, such as all copying costs, despite the fact that such costs are regularly
             6 incurred in work on the underlying Coleman remedy. See id.; Decl. of Amy Whelan (Docket No.
             7 2823), at ¶ 8.
             8         As in the previous two motions to compel, Plaintiffs do not in this motion ask for an order
             9 directing payment of any particular amount, but seek a ruling that Defendants’ categorical objection
         10 is improper and a direction that the parties meet and confer within a reasonable time to resolve any
         11 objections to the specific amounts of time expended or the specific cost amounts.
         12                                                  CONCLUSION
         13            For all of the reasons stated above and in the prior briefs on this same issue, Plaintiffs seek
         14 compensation for the reasonable attorneys’ fees and costs that Defendants have withheld for the
         15 first quarter of 2008. Plaintiffs request that the Court find that the above-described disputed
         16 professional services and costs are compensable under the applicable legal standard, in that the
         17 work performed and the costs incurred were directly and reasonably incurred in enforcing the
         18 relief ordered for the constitutional violations found in the Court’s September 13, 1995 Order.
         19 Plaintiffs further request that the Court order the parties to complete a meet-and-confer process
         20 regarding the amounts to be paid within 30 days of the Court’s order. Finally, Plaintiffs request
         21 an order from this Court reaffirming Plaintiffs’ entitlement to reasonable attorneys’ fees and
         22 costs directly and reasonably incurred in relation to the Coleman remedy without regard to
         23 whether such fees and costs are also related to the three-judge panel proceedings.
         24 Dated: August 8, 2008                                          Respectfully submitted,
         25                                                                ROSEN, BIEN & GALVAN, LLP
         26
                                                                           By: /s/
         27                                                                    Ernest Galvan
                                                                               Attorney for Plaintiffs
         28
                                                                       4
                      PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO COMPEL DISPUTED ATTORNEYS’ FEES AND COSTS FROM THE FIRST
[230844-2]
                                  QUARTER OF 2008; MEMORANDUM OF POINTS AND AUTHORITIES, NO.: CIV S 90-0520 LKK-JFM
